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                                                                                        FILED
                               UNITED STATES DISTRICT COURT                         JUN 2 7 2019
                               EASTERN DISTRICT OF MISSOURI                       U. S. DISTRICT COURT
                                                                                EASTERN DISTRICT OF MO
                                    EASTERN DIVISION                                     ST.LOUIS


 UNITED STATES OF AMERICA,                          )
                                                    )
 Plaintiff,                                         )
                                                    )
 v.                                                 )

 LAMAR MILLER,
                                                    )
                                                    )
                                                          4:19CR494 AGF/NCC:
                                                    )
 Defendant.                                         )

                                          INDICTMENT

                                             COUNT I

         The Grand Jury charges that:

         On or about January 17, 2019, in St. Louis County, within the Eastern District of Missouri,

                                        LAMAR MILLER,

the Defendant herein, did knowingly possess one or more machineguns.

         In violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).

                                              A TRUE BILL.


                                              FOREPERSON

JEFFREY B. JENSEN
United States Attorney


ANTHONY FRANKS #50217MO
Assistant United States Attorney
